U.S. Department of Justice                                                                              PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                         See "Instructions for Service of Process by U.S. Marshal"

PLAINTIFF                                                                                                        COURT CASE NUMBER
              Clarence Albert Saffold, III                                                                       19-CV-1414
DEFENDANT                                                                             TYPE OF PROCESS
           Officer Peterson, et al                                                     Order, Amended Complaint, Notice, Waiver and Consent
                                                                                      forms
                         NAME OF INDIVIDUAL COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
  SERVE
     AT            {     Officer Gilbert
                         ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                         Milwaukee County Jail, 949 N 9th St, Milwaukee, WI 53233
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                        Number of process to be
                                                                                                                          served with this Form 285
                       Clarence Albert Saffold, III
                       543727                                                                                             Number of parties to be
                                                                                                                          served in this case
                       Racine Correctional Institution
                       2019 Wisconsin St
                       PO Box 900                                                                                         Check for service
                       Sturtevant, WI 53177-0900                                                                          on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses, All Telephone
Numbers, and Estimated Times Available for Service):



Signature of Attorney or other Originator requesting service on behalf of:                                               TELEPHONE NUMBER                 DATE
                                                                                                 PLAINTIFF

Clarence Albert Saffold, III                                                                     DEFENDANT                                               10/01/2020
                    SPACE BELOW FOR USE OF U.S. MARSHAL ONLY – DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total     Total Process       District of Origin    District to Serve   Signature of Authorized USMS Deputy or Clerk             Date
number of process indicated.
(Sign only for USM 285 if more
                                                           No.                    No.
than one USM 285 is submitted)
I hereby certify and return that I  have personally served,  have legal evidence of service,  have executed as shown in "Remarks", the
process described on the individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc.
shown at the address inserted below.
      I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (if not shown above)                                                                 Date                 Time               am
                                                                                                                                                                 pm
Address (complete only different than shown above)                                                                       Signature of U.S. Marshal or Deputy




Service Fee           Total Mileage Charges            Forwarding Fee            Total Charges        Advance Deposits          Amount owed to U.S. Marshal* or
                      (including endeavors)                                                                                     (Amount of Refund*)


REMARKS




                                                                                                                                                         Form USM-285
PRIOR VERSIONS OF THIS FORM ARE OBSOLETE                                                                                                                          Rev. 11/18
                            Case 2:19-cv-01414-PP Filed 10/01/20 Page 1 of 3 Document 18
U.S. Department of Justice                                                                              PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                         See "Instructions for Service of Process by U.S. Marshal"

PLAINTIFF                                                                                                        COURT CASE NUMBER
              Clarence Albert Saffold, III                                                                       19-CV-1414
DEFENDANT                                                                             TYPE OF PROCESS
           Officer Peterson, et al                                                     Order, Amended Complaint, Notice, Waiver and Consent
                                                                                      forms
                         NAME OF INDIVIDUAL COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
  SERVE
     AT            {     Officer J Sanchez
                         ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                         Milwaukee County Jail, 949 N 9th St, Milwaukee, WI 53233
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                        Number of process to be
                                                                                                                          served with this Form 285
                       Clarence Albert Saffold, III
                       543727                                                                                             Number of parties to be
                                                                                                                          served in this case
                       Racine Correctional Institution
                       2019 Wisconsin St
                       PO Box 900                                                                                         Check for service
                       Sturtevant, WI 53177-0900                                                                          on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses, All Telephone
Numbers, and Estimated Times Available for Service):



Signature of Attorney or other Originator requesting service on behalf of:                                               TELEPHONE NUMBER                 DATE
                                                                                                 PLAINTIFF

Clarence Albert Saffold, III                                                                     DEFENDANT                                               10/01/2020
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      I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
Name and title of individual served (if not shown above)                                                                 Date                 Time               am
                                                                                                                                                                 pm
Address (complete only different than shown above)                                                                       Signature of U.S. Marshal or Deputy




Service Fee           Total Mileage Charges            Forwarding Fee            Total Charges        Advance Deposits          Amount owed to U.S. Marshal* or
                      (including endeavors)                                                                                     (Amount of Refund*)


REMARKS




                                                                                                                                                         Form USM-285
PRIOR VERSIONS OF THIS FORM ARE OBSOLETE                                                                                                                          Rev. 11/18
                            Case 2:19-cv-01414-PP Filed 10/01/20 Page 2 of 3 Document 18
U.S. Department of Justice                                                                              PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                         See "Instructions for Service of Process by U.S. Marshal"

PLAINTIFF                                                                                                        COURT CASE NUMBER
              Clarence Albert Saffold, III                                                                       19-CV-1414
DEFENDANT                                                                             TYPE OF PROCESS
           Officer Peterson, et al                                                     Order, Amended Complaint, Notice, Waiver and Consent
                                                                                      forms
                         NAME OF INDIVIDUAL COMPANY, CORPORATION, ETC., TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
  SERVE
     AT            {     Dr. Khan
                         ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                         Milwaukee County Jail, 949 N 9th St, Milwaukee, WI 53233
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                        Number of process to be
                                                                                                                          served with this Form 285
                       Clarence Albert Saffold, III
                       543727                                                                                             Number of parties to be
                                                                                                                          served in this case
                       Racine Correctional Institution
                       2019 Wisconsin St
                       PO Box 900                                                                                         Check for service
                       Sturtevant, WI 53177-0900                                                                          on U.S.A.
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Signature of Attorney or other Originator requesting service on behalf of:                                               TELEPHONE NUMBER                 DATE
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Clarence Albert Saffold, III                                                                     DEFENDANT                                               10/01/2020
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                                                                                                                                                                 pm
Address (complete only different than shown above)                                                                       Signature of U.S. Marshal or Deputy




Service Fee           Total Mileage Charges            Forwarding Fee            Total Charges        Advance Deposits          Amount owed to U.S. Marshal* or
                      (including endeavors)                                                                                     (Amount of Refund*)


REMARKS




                                                                                                                                                         Form USM-285
PRIOR VERSIONS OF THIS FORM ARE OBSOLETE                                                                                                                          Rev. 11/18
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